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1
 Document descriptions, other than bracketed text indicating commonly-used short-form descriptors, are taken directly from the Affidavit. Their
use is for convenience only and should not be taken as a concession that the descriptions are accurate.
2
 Defendant’s objections to the cited documents are made for purposes of the pending motion to dismiss. Defendant reserves the right to move to
exclude, or to assert additional objections, in the event that any party seeks to admit any of the cited documents into evidence in any future
proceeding.

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2009) (part of FBI Docs – Aulaqi and Abdulmutallab)                                                     FRE 901, Preliminary
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